       Case 6:06-cr-00026-JRH-CLR Document 646 Filed 10/10/07 Page 1 of 1

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                                                               U.S . DISTRICT COUR T
      UNITED STATES DISTRICT COURT                                SAVA y° AH DIV .
     SOUTHERN DISTRICT OF GEORGIA
          STATESBORO DIVISIO N                                2007 OCT 1 0 An 11: 18
UNITED STATES OF AMERIC A

V. 606CRO26

SHEIKEL JAMISON

                   ORDE R

   The motion of defendant Sheikel Jamison for
a new trial, if not judgment of acquittal (doc . #
642), is DENIED .

   This day of October, 2007 .




   AVANT EDEYF IE"LD, JUDGE
UNITED STA S DISTRICT COURT
SOUTHERN DISTRICT OF GEORGIA
